Case 8:23-mc-00014-WFJ-SPF Document 33-2 Filed 08/09/23 Page 1 of 5 PageID 219




                         Attachment B
Case 8:23-mc-00014-WFJ-SPF Document 33-2 Filed 08/09/23 Page 2 of 5 PageID 220
Case 8:23-mc-00014-WFJ-SPF Document 33-2 Filed 08/09/23 Page 3 of 5 PageID 221
Case 8:23-mc-00014-WFJ-SPF Document 33-2 Filed 08/09/23 Page 4 of 5 PageID 222
Case 8:23-mc-00014-WFJ-SPF Document 33-2 Filed 08/09/23 Page 5 of 5 PageID 223
